     Case 3:19-cv-01859-CAB-WVG Document 65 Filed 02/12/20 PageID.2050 Page 1 of 7



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 8                              UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
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11     JAVO BEVERAGE CO., INC.,                           Case No.: 19-CV-1859-CAB-WVG
12                                       Plaintiff,
                                                          CASE MANAGEMENT ORDER
13     v.                                                 REGULATING DISCOVERY AND
                                                          OTHER PRETRIAL PROCEEDINGS
14     CALIFORNIA EXTRACTION
                                                          IN A PATENT CASE
       VENTURES, INC., et al.,
15
                                     Defendants.
16
17     AND RELATED COUNTERCLAIMS
18
19          1.     On or before February 28, 2020, each party claiming patent infringement
20    shall separately serve on all parties a Disclosure of Asserted Claims and Preliminary
21    Infringement pursuant to Patent L.R. 3.1 and produce documents as required by Patent
22    L.R. 3.2.
23          2.     On or before April 24, 2020, each party opposing a claim of infringement
24    shall serve Invalidity Contentions pursuant to Patent L.R. 3.3 and produce documents as
25    required by Patent L.R. 3.4.
26          3.     On or before May 8, 2020, the parties shall exchange Preliminary Claim
27    Constructions pursuant to Patent L.R. 4.1(a) and identify extrinsic evidence as required
28    by Patent L.R. 4.1(b).


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                                                                              19-CV-1859-CAB-WVG
     Case 3:19-cv-01859-CAB-WVG Document 65 Filed 02/12/20 PageID.2051 Page 2 of 7



 1          4.     On or before May 22, 2020, the parties shall exchange Responsive Claim
 2    Constructions pursuant to Patent L.R. 4.1(c) and identify extrinsic evidence as required
 3    by Patent L.R. 4.1(d).
 4          5.     On or before June 5, 2020, the parties shall complete and file a Joint Claim
 5    Construction Chart, Joint Claim Construction Worksheet, and Joint Hearing Statement
 6    pursuant to Patent L.R. 4.2.
 7          6.     The deadline for filing, as of right, Amended Infringement Contentions by a
 8    party claiming infringement is June 5, 2020. See Patent L.R. 3.6(a).
 9          7.     All discovery intended for use in the Claim Construction Hearing must be
10    completed by July 3, 2020. See Patent L.R. 4.3.
11          8.     The deadline for filing, as of right, Amended Invalidity Contentions by the
12    party opposing infringement is July 3, 2020. See Patent L.R. 3.6(b)
13          9.     On or before July 17, 2020, the parties must file simultaneously their
14    Opening Claim Construction Briefs. See Patent L.R. 4.4(a).
15          10.    On or before July 31, 2020, the parties must file simultaneously their
16    Responsive Claim Construction Briefs. See Patent L.R. 4.4(b).
17          11.    The Claim Construction and tutorial hearing will be held August 28, 2020,
18    at 9:00 A.M. before Judge Bencivengo. See Patent L.R. 4.5.
19          12.    Not later than thirty (30) days after the filing of the Claim Construction
20    Order, any party relying upon advice of counsel as part of a patent-related claim or
21    defense for any reason must make the disclosures required by Patent L.R. 3.7
22          13.    A party asserting infringement must serve final amended infringement
23    contentions, within the meaning of Patent L.R. 3.6(a)(1), not later than thirty (30) days
24    after service of the Court’s Claim Construction Ruling.
25          14.    A party opposing a claim of infringement must serve final amended
26    invalidity contentions, within the meaning of Patent L.R. 3.6(b)(2), not later than fifty
27    (50) days after service of the Court’s Claim Construction ruling.
28          15.    The initial date for the substantial completion of document discovery

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                                                                                19-CV-1859-CAB-WVG
     Case 3:19-cv-01859-CAB-WVG Document 65 Filed 02/12/20 PageID.2052 Page 3 of 7



 1    including electronically stored information (“ESI”) is October 23, 2020. See Patent L.R.
 2    2.1(a)(1).
 3            16.   All fact discovery shall be completed by all parties on or before December
 4    21, 2020. “Completed” means that interrogatories, requests for production, and other
 5    discovery requests must be served at least thirty (30) days prior to the established cutoff
 6    date so that response thereto will be due on or before the cutoff date. All subpoenas
 7    issued for discovery must be returnable on or before the discovery cutoff date. All
 8    disputes concerning discovery shall be brought the attention of the Magistrate Judge no
 9    later than forty-five (45) days following the date upon which the event giving rise to the
10    dispute occurred. Counsel are required to meet and confer regarding all discovery
11    disputes pursuant to the requirements of Local Rule 26.1(a). Counsel are to comply with
12    the Civil Chambers Rules of Judge Gallo in bringing discovery before the court. Finally,
13    each party shall have seventy-five (75) hours to use towards taking depositions in this
14    matter. Absent a showing of good cause to the Court, this 75-hour allocation shall not be
15    exceeded, except by stipulation of the Parties.
16            17.   All expert disclosures required by Fed. R. Civ. P. 26(a)(2) shall be served on
17    all parties on or before October 23, 2020. Any contradictory or rebuttal disclosures
18    within the meaning of Rule 26(a)(2)(D)(ii) shall be disclosed on or before November 6,
19    2020. Unless otherwise stipulated by the parties, the required expert disclosures shall
20    include an expert report as required by Rule 26(a)(2)(B). The Parties shall exchange
21    initial expert reports on or before January 18, 2021 and they shall exchange rebuttal
22    expert reports on or before February 15, 2021. If a written report is not required, the
23    disclosure must provide the information required under Rule 26(a)(2)(c).
24            18.   Expert discovery shall be completed by all parties on or before March 15,
25    2021.
26            19.   All other dispositive motions, including those addressing Daubert issues,
27    shall be FILED on or before March 29, 2021. Please be advised that counsel for the
28    moving party must obtain a motion hearing date from the law clerk of the judge who will

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                                                                                19-CV-1859-CAB-WVG
     Case 3:19-cv-01859-CAB-WVG Document 65 Filed 02/12/20 PageID.2053 Page 4 of 7



 1    hear the motion. Failure of counsel to timely request a motion date may result in the
 2    motion not being heard. Motions in Limine are to be filed as directed in the Local Rules,
 3    or as otherwise set by Judge Bencivengo.
 4          20.    Briefs or memoranda in support of or in opposition to any pending motion
 5    shall not exceed twenty-five (25) pages in length without permission of the judge or
 6    magistrate judge who will hear the motion. No reply memorandum shall exceed ten (10)
 7    pages without leave of the judge or magistrate judge who will hear the motion.
 8          21.    A Mandatory Settlement Conference shall be conducted on October 26,
 9    2020, at 9:00 A.M., in the chambers of Magistrate Judge Gallo. Counsel shall submit
10    confidential settlement statements directly to chambers no later than October 19, 2020.
11    Each party’s settlement statement shall set forth the party’s statement of the case, identify
12    controlling legal issues, concisely set out issues of liability and damages, and shall set
13    forth the party’s settlement position, including the last offer or demand made by that
14    party, and a separate statement of the offer or demand the party is prepared to make at the
15    settlement conference. Settlement conference briefs shall not be filed with the Clerk of
16    the Court, nor shall they be served on opposing counsel.
17          22.    Pursuant to Local Civil Rule 16.3, all party representatives and claims
18    adjusters for insured defendants with full and unlimited authority to negotiate and enter
19    into a binding settlement, as well as the principal attorney(s) responsible for the litigation,
20    must be present and legally and factually prepared to discuss and resolve the case at the
21    mandatory settlement conference. Retained outside corporate counsel shall not appear on
22    behalf of a corporation as the party who has the authority to negotiate and enter into a
23    settlement. Failure to attend the conference or obtain proper excuse will be considered
24    grounds for sanctions.
25          23.    In order to identify the claims to be tried and eliminate delay and surprise at
26    trial, the Court enters the following pretrial order pursuant to Fed. R. Civ. P. 16.
27          24.    Parties are excused from the requirement of Local Rule 16.1(f)(2)(a); no
28    Memoranda of Law or Contentions of Fact are to be filed.

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                                                                                 19-CV-1859-CAB-WVG
     Case 3:19-cv-01859-CAB-WVG Document 65 Filed 02/12/20 PageID.2054 Page 5 of 7



 1          25.    All parties or their counsel shall fully comply with the Pretrial Disclosure
 2    requirements of Fed. R. Civ. P. 26(a)(3) on or before April 30, 2021. Failure to comply
 3    with these disclosures requirements could result in evidence preclusion or other sanctions
 4    under Fed. R. Civ. P. 37.
 5          26.    Pursuant to Local Civil Rule 16.1(f)(4), on or before May 7, 2021, the
 6    parties shall meet and confer to comply with the provisions of that section and prepare a
 7    proposed pretrial order in accordance with Local Rule 16.1(f)(6)(c), and containing the
 8    following:
 9                 a.      A joint neutral statement to be read to the jury, not in excess of one
10    page, of the nature of the case and the claims and defenses.
11                 b.      A list of the causes of action to be tried, referenced to the Complaint
12    and Counterclaim. For each cause of action, the order shall succinctly list the elements of
13    the claim, damages and any defenses. A cause of action in the Complaint and/or
14    Counterclaim which is not listed shall be dismissed with prejudice.
15                 c.      A list, in alphabetical order, of:
16                        i.      Each witness counsel actually expect to call at trial with a brief
17                                statement, not exceeding four sentences, of the substance of the
18                                witnesses’ testimony.
19                       ii.      Each expert witness counsel actually expect to call at trial with
20                                a brief statement, not exceeding four sentences, of the substance
21                                of the expert witnesses’ testimony.
22                      iii.      Additional witnesses, including experts, counsel do not expect
23                                to call at this time but reserve the right to call at trial along with
24                                a brief statement, not exceeding four sentences, of the substance
25                                of the witnesses’ testimony.
26                 d.      A list of:
27                        i.      All exhibits that counsel actually expect to offer at trial with a
28                                one-sentence description of the exhibit. All exhibits are to be

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                                                                                    19-CV-1859-CAB-WVG
     Case 3:19-cv-01859-CAB-WVG Document 65 Filed 02/12/20 PageID.2055 Page 6 of 7



 1                               identified numerically, plaintiff starting with “1” and defendant
 2                               beginning with an agreed upon numerical designation.
 3                      ii.      All other exhibits that counsel do not expect to offer at this time
 4                               but reserve the right to offer if necessary at trial with a one-
 5                               sentence description of the exhibit.
 6                 e.     A statement of all facts to which the parties stipulate. This statement
 7    shall be on a separate page and will be read to and provided to the jury.
 8                 f.     A list of all deposition transcripts by page and line, or videotape
 9    depositions by section, that will be offered at trial.
10                 g.     Counsel will note any objections they have to any other parties’ Fed.
11    R. Civ. P. 26 (a)(3) Pretrial Disclosures.
12          The Court encourages the parties to consult with the assigned magistrate judge to
13    work out any problems in preparation of the proposed pretrial order. Judge Bencivengo
14    will entertain any questions concerning the conduct of the trial at the pretrial conference.
15          27.    Counsel for plaintiff will be responsible for preparing the pretrial order and
16    arranging the meetings of counsel pursuant to Civil Local Rule 16.1(f)(6)(a). On or
17    before May 14, 2021, plaintiff’s counsel must provide opposing counsel with the
18    proposed pretrial order for review and approval. Opposing counsel must communicate
19    promptly with plaintiff’s attorney concerning any objections to form or content of the
20    pretrial order, and both parties should attempt promptly to resolve their differences, if
21    any, concerning the order.
22          28.    The proposed final pretrial conference order, including objections counsel
23    have to any other party’s Fed. R. Civ. P. 26(a)(3) Pretrial Disclosures shall be prepared,
24    served and lodged with Judge Bencivengo chambers on or before May 21, 2021, and
25    shall be in the form prescribed in and in compliance with Local Rule 16.1(f)(6)(c).
26    Counsel shall also bring a court copy of the pretrial order to the pretrial conference.
27          29.    The final pretrial conference shall be held before Judge Bencivengo, United
28    States District Court Judge, on May 28, 2021 at 2:30 p.m., during which time the Court

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                                                                                  19-CV-1859-CAB-WVG
     Case 3:19-cv-01859-CAB-WVG Document 65 Filed 02/12/20 PageID.2056 Page 7 of 7



 1    will address the submission of motions in limine, trial briefs, proposed voir dire and jury
 2    instructions and the trial schedule.
 3          30.    The dates and times set forth herein will not be modified except for good
 4    cause shown.
 5          31.    Plaintiff’s counsel shall serve a copy of this order on all parties that enter
 6    this case hereafter.
 7          IT IS SO ORDERED.
 8    Dated: February 11, 2020
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